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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                            )
 Food Not Bombs Houston et al.,             )
                                            )
 Plaintiffs,                                )
                                            ) Case No. 4:24-cv-338
 v.                                         ) (Consolidated Case: No. 4:23-cv-1206)
                                            )
 City of Houston, Texas,                    )
                                            )
 Defendant.                                 )
                                            )

                                          ORDER

        On this date, the Court considered Plaintiffs Food Not Bombs Houston and Brandon

Walsh’s Motion for Summary Judgment and Permanent Injunction. After due consideration of this

motion, any responses and replies, and all other evidence and argument, the Court GRANTS

Plaintiffs’ Motion. It is hereby ORDERED that Defendant City of Houston and its officers,

employees, and agents are permanently enjoined from enforcing sections 20-252 and 20-257 of

the Houston City Code.

Signed at Houston, Texas this ____ day of ________, 2025.


                                                  _______________________________
                                                       HON. ANDREW S. HANEN
                                                  UNITED STATES DISTRICT JUDGE
